                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
             Plaintiff,                         )
                                                )
      v.                                        )   Criminal Action No.
                                                )   04-00246-05-CR-W-DW
LOREN W. MAY, SR.,                              )
                                                )
             Defendant.                         )

                   MEMORANDUM OF MATTERS DISCUSSED AND
                    ACTION TAKEN AT PRETRIAL CONFERENCE

           Pursuant to the order of the Court en banc of the United States District

Court for the Western District of Missouri, a pretrial conference was held in the

above-entitled cause before me on October 12, 2005. Defendant Loren May, Sr.,

appeared in person pro se and with stand-by counsel Kenton Hall. The United

States of America appeared by Assistant United States Attorney Brent Powell.

I.         BACKGROUND

           On December 16, 2004, a second superseding indictment was returned

charging defendant and nine co-defendants with conspiracy to distribute crack

cocaine, in violation of 21 U.S.C. § 846. All of the co-defendants have entered

guilty pleas.

           The following matters were discussed and action taken during the pretrial

conference:

II.        TRIAL COUNSEL

           Mr. Powell announced that he will be the trial counsel for the government.

The case agent to be seated at counsel table is Charles “Tiger” Parson,



      Case 4:04-cr-00246-DGK        Document 226      Filed 10/13/05    Page 1 of 4
Buchanan County Drug Strike Force.

          Defendant announced that he will try the case pro se, and Kenton Hall will

be present as stand-by counsel.

III.      OUTSTANDING MOTIONS

          There are no pending motions in this case.

IV.       TRIAL WITNESSES

          Mr. Powell announced that the government intends to call 7 witnesses

without stipulations during the trial.

          Defendant announced that he intends to call 23 witnesses during the trial.

The defendant may testify.

V.        TRIAL EXHIBITS

          Mr. Powell announced that the government will offer approximately 65

exhibits in evidence during the trial.

          Defendant announced that he will offer approximately 10 exhibits in

evidence during the trial.

VI.       DEFENSES

          Defendant announced that he will rely on the defenses of general denial,

alibi, and entrapment.

VII.      POSSIBLE DISPOSITION

          Defendant stated this case is definitely for trial.

VIII.     STIPULATIONS

          Stipulations are not likely.



                                              2


       Case 4:04-cr-00246-DGK        Document 226       Filed 10/13/05   Page 2 of 4
IX.      TRIAL TIME

         Defendant, Mr. Hall, and Mr. Powell were in agreement that this case will

take 4 1/2 days to try.

X.       EXHIBIT LIST, VOIR DIRE AND INSTRUCTIONS

         The U. S. Magistrate Judge ordered:

               That, in addition to the requirements of the Stipulations and Orders
               filed February 25, 2005, defendant and counsel for the government
               file and serve a list of exhibits each intends to offer in evidence at
               the trial of this case on the form entitled Exhibit Index and have all
               available exhibits premarked using the stickers provided by the
               Clerk of Court by October 12, 2005.

               That defendant and counsel for the government file and serve
               requested jury voir dire examination questions by or before
               Wednesday, October 19, 2005.

               That defendant and counsel for the government file and serve, in
               accordance with the requirements of Local Rule 51.1, requested
               jury instructions by or before Wednesday, October 19, 2005. The
               parties are requested to provide proposed jury instructions in both
               hard copy form, as required by Local Rule 51.1, and, if available to
               counsel, 3 and 1/2 inch computer disk in a form compatible with
               WordPerfect 9.0, 10.0, or 11.0.

XI.      UNUSUAL QUESTIONS OF LAW

         The government will file motions in limine dealing with relevance of

records. There are no unusual questions of law.

XII.     TRIAL SETTING

         All counsel and the defendant were informed that this case will be listed

for trial on the joint criminal jury trial docket which commences on October 24,




                                          3


      Case 4:04-cr-00246-DGK      Document 226      Filed 10/13/05    Page 3 of 4
2005. the parties are requesting a trial setting for the second week of the docket,

i.e., October 31, 2005.



                                                 /s/ Robert E. Larsen
                                                ROBERT E. LARSEN
                                                U. S. Magistrate Judge

Kansas City, Missouri
October 12, 2005

cc:      The Honorable Dean Whipple
         Mr. Brent Powell
         Mr. Loren May, Sr.
         Mr. Kenton Hall
         Mr. Jeff Burkholder




                                        4


      Case 4:04-cr-00246-DGK    Document 226      Filed 10/13/05    Page 4 of 4
